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AO 187 (Rev. 7/87) Exhibit and Witness List



                                                  UNITED STATES DISTRICT COURT
                                                          SOUTHERN                   DISTRICT OF                       TEXAS



                    State of Texas                                                                                EXHIBIT AND WITNESS LIST
                          V.
   Thirteen Pallets of Industrial Oilfield Hoses and
                                                                                                                         Case Number: 4:20-cv-04265
      Five Palleys of Blowout Preventers, et al

PRESIDING JUDGE                                                        PLAINTIFF’S ATTORNEY                                    DEFENDANT’S ATTORNEY
                    Charles Eskridge                                   Angela Beavers, and James Murphy                                   Giorgio Caflisch
TRIAL DATE (S)                                                         COURT REPORTER                                          COURTROOM DEPUTY
                         02/24/2021                                                              ERO                                     Jennelle Gonzalez
 PLF.      DEF.        DATE
                                       MARKED         ADMITTED                                             DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   X                 2/24/2021              X               X         Plaintiff's Exhibit 1 -AES shipment record

   X                 2/24/2021              X               X         Plaintiff's Exhibit 2 - Electronic Export Information

   X                 2/24/2021              X               X         Plaintiff's Exhibit 3 - Copy of search warrant

   X                 2/24/2021              X               X         Plaintiff's Exhibit 4 - http://www.talashgara-sanat.com webpage information

   X                 2/24/2021              X               X         Plaintiff's Exhibit 5 - Email exchange between T.S.D. S.R.L. and Airpack

   X                 2/24/2021              X               X         Plaintiff's Exhibit 6 - Copy of emailed contract

   X                 2/24/2021              X               X         Plaintiff's Exhibit 7 - Email exchange between H. Gohari and T.S.D. S.R.L.

   X                 2/24/2021              X               X         Plaintiff's Exhibit 8 - Email copy of Freight receipt

   X                 2/24/2021              X               X         Plaintiff's Exhibit 9 - Email exchange between T.S.D. and Ectipsa

   X                 2/24/2021              X               X         Plaintiff's Exhibit 10 - Email copy of purchase contract

   X                 2/24/2021              X               X         Plaintiff's Exhibit 11 - Email copy of signed purchase contract

   X                 2/24/2021              X               X         Plaintiff's Exhibit 12 - Email copy of payment received

   X                 2/24/2021              X               X         Plaintiff's Exhibit 13 - Email exchange between T.S.D. regarding inquiry for parts

   X                 2/24/2021              X               X         Plaintiff's Exhibit 14 - Copy of search warrant

   X                 2/24/2021              X               X         Plaintiff's Exhibit 15 - Copy of search warrant

             X       2/24/2021              X               X         Defendant's Exhibit 1 - Copy of settlement agreement

                     2/24/2021              X               X         Respondent's Exhibit 1 - Photograph (4:20-cv-3610)




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.
